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 1Daniel J. Becka, Esq. (Pro Hae Vice)
  Law Offices of Daniel J. Becka LLC
2 30 N. LaSalle Street, Suite 2727
  Chicago, IL 60602
3 T: (312) 646-1092
  F: (312) 278-2455
4 E: dan@dbeckalaw.com

5 Justin C. Kanter, Esq. (Pro Hae Vice)
  Gaido & Fintzen
6 30 N. LaSalle Street, Suite 2727
  Chicago, IL 60602
7 T: (312) 346-7855
  F: (312) 346-8317
8 E: jkanter@gaido-fintzen.com

9    John E. Bragonje (NV Bar No. 9519)
   Lewis Roca Rothgerber Christie LLP
10 3993 Howard Hughes Parkway
   Las Vegas, Nevada 89169
11 Tel/Fax: (702) 949-8200
   jbragonje@lewisroca.com
12 Counsel for Plaintiffwedi Corp.

13
                                  UNITED STATES DISTRICT COURT
14
                                           DISTRICT OF NEVADA
15
      WEDI CORP.,                                        Case No. 2:22-cv-00457-CDS-BNW
16
                             Plaintiff,                  SUBSTITUTION OF ATIORNEY
17    V.

18
      HYDROBLOK GRAND INTERNATIONAL
19    LTD., HYDROBLOK GRAND
      INTERNATIONAL INC., and
20    HYDRO-BLOK USA LLC,

21                           Defendants.

22
             Plaintiff wedi Corp. (" Plaintiff'') hereby substitutes John E. Bragonje, Esq. (Nevada Bar No.
23
     9519) of the law firm Lewis Roca Rothgerber Christie LLP as Plaintiffs Nevada attorney of record
24
     in place of and instead of Jones Lovelock, PLLC.
25
            Plaintiffs new attorney's address and contact information is: Address: 3993 Howard Hughes
26
     Parkway, Las Vegas, Nevada 89169; Phone: (702) 949-8200; Email: jbragonje@lewisroca.com
27

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             Pursuant to LR IA 11-6(c), both the prior law finn and the new law finn consent to the
 2 substitution of attorney, as does the Plaintiff, as indicated by the signatures ofall parties below:
 3 1.                      i Corp. hereby consents to the substitution of attorney described above.
 4
 5

 6

 7 2.        The undersigned outgoing attorney for Plaintiff hereby consents to the substitution of

 8
 9
             Jones     I k, PLLC
to
             By: \Li!Vl~£\k-P-f t'\'-f j~
11
     3.      I, the newly substituted attorney for Plaintiff, am duly admitted to practice in this District,
12
     have been retained by Plaintiffto represent it in this matter, and consent to the substitution ofattorney
13
     as described above.
14
15

16

17
     DATED: October 5, 2022
18

19
                                             ORDER
20 The Substitution of Attorney is herebyIT IS SO ORDERED
                                          APPROVED.
21                                            DATED: 5:05 pm, October 11, 2022

22 Dated:
            -------                                   UNITED STATES DISTRICT JUDGE
23
                                              BRENDA WEKSLER
24                                            UNITED STATES MAGISTRATE JUDGE
25
26
27
28
                                                          2
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 1                                   CERTIFICATE OF SERVICE

2          I hereby certify that on October 7, 2022, we electronically filed the foregoing with the Clerk

3 of the Court using the CM/ECF system which will send notification of such filing to the following:

4
  John Denkenberger, Esq.
5 Christensen O'Connor Johnson Kindness PLLC
6
  John Whitaker, Esq.
7 Christensen O'Connor Johnson Kindness PLLC

 8 F. Christopher Austin, Esq.
   Weide & Miller, Ltd.
9

10 Attorneys for Defendants

11
                                                          By: Isl Daniel J. Becka;___
12
                                                          Daniel J. Becka, Esq.
13
                                                          Appearing Pro Hae Vice
                                                          Law Offices of Daniel J. Becka
14
                                                          30 N. LaSalle Street, Suite 2727
                                                          Chicago, IL 60602
15
                                                          Justin C. Kanter, Esq.
16
                                                          Appearing Pro Hae Vice
                                                          Gaido & Fintzen
17
                                                          30 N. LaSalle Street, Suite 2727
                                                          Chicago, IL 60602
18
                                                          John E. Bragonje, Esq.
19                                                        Lewis Roca Rothgerber Christie LLP
                                                          3993 Howard Hughes Parkway, Suite 600
20                                                        Las Vegas, Nevada 89169
21

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26

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